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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

ARRAY HOLDINGS, INC.,                              '
                                                   '
                          PLAINTIFF,               '
v.                                                 '            CAUSE NO. 12-cv-366
                                                   '
SAFOCO, INC.,                                      '            JURY TRIAL REQUESTED
                                                   '
                          DEFENDANT.               '

                      JOINT MOTION TO REINSTATE CASE AND
               FOR ENTRY OF ORDER DISMISSING CASE WITH PREJUDICE

        Plaintiff Array Holdings, Inc. (“Array”), and Defendant Safoco, Inc. (“Safoco”)

(collectively “the Parties”), jointly request that the Court reinstate this case for the limited purpose

of dismissing all claims between the Parties with prejudice. On September 18, 2013, the Court

entered an Order of Dismissal on Settlement Announcement (Dkt. # 210).                  The case was

dismissed without prejudice to the right of the parties to move for reinstatement. Array and

Safoco have reached an agreement to settle and compromise their differences in the case. Array

asks that the Court enter a dismissal on all claims against Safoco. Safoco asks that the Court enter

a dismissal on all counterclaims against Array. The parties have agreed to the filing of this joint

motion to reinstate the case and for entry of an order dismissing all claims with prejudice to the

rights of either party.

        For the foregoing reasons, the parties respectfully request that this Court grant the Parties’

request that the case be reinstated and that the Court enter an order dismissing all claims between

Array and Safoco with prejudice to the rights of the parties.
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                                      Respectfully submitted

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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was filed
electronically pursuant to Local Rule 5.1 and that a copy of this document was served upon all
counsel of record pursuant to the Federal Rules of Civil Procedure and Local Rule 5.1 via the
Court’s CM/ECF on this 10th day of October, 2013.


                                                  /s/ Julie B. Cunningham
                                                  Julie B. Cunningham




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